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 1                                                                               Honorable Robert S. Lasnik
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7
                                          AT SEATTLE
 8
   CITY OF SEATTLE, a municipal corporation           Case No.: 2:16-cv-00107-RSL
 9 located in the County of King, State of
   Washington,                                        DECLARATION OF JASON JULIUS IN
10                                                    SUPPORT OF PLAINTIFF’S MOTION
      Plaintiff,                                      FOR PROTECTIVE ORDER
11 v.
                                                      NOTE ON MOTION CALENDAR: January
12 MONSANTO COMPANY, SOLUTIA INC.,                    17, 2020
   and PHARMACIA CORPORATION, and
13 DOES 1 through 100,

14     Defendants.                                    Complaint Filed: January 25, 2016
15                                                    Trial Date:      September 14, 2020

16

17 Jason J. Julius, declare as follows:

18          1.     I am an attorney licensed to practice law in the State of California, and I am an associate
19 with Baron & Budd, P.C., counsel for Plaintiff City of Seattle (“the City”). I submit this declaration in

20 support of Plaintiff’s Motion for a Protective Order as to the City’s privileged mediation documents

21 and communications. I have personal knowledge of the facts set forth in this declaration.

22          2.     On December 26, 2019, I participated in a phone call with counsel for Defendants
23 Monsanto Company, Solutia Inc., and Pharmacia LLC (“Defendants”) regarding the documents sought

24 by Defendants in Request for Production No. 39. The City informed Defendants that it was unwilling

25 to produce the requested documents because they were protected by the mediation privilege due to the

26 preparation of the documents explicitly for the Lower Duwamish Allocation proceedings. A further

27 meet and confer call was scheduled for January 3, 2020.

28
     DECLARATION OF JASON J. JULIUS                                              PETER S. HOLMES
     (2:16-cv-00107-RSL) - 1                                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
                                                                                 Seattle, WA 98104
                                                                                  (206) 684-8200
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 1         3.      On January 3, 2020, a second meet and confer call occurred between the City and

 2 Defendants, at which time it was confirmed that the City would not be producing mediation privileged

 3 documents pursuant to RFP 39, but would produce any and all documents which were utilized in the

 4 Allocation proceeding but which existed and/or were created outside of the context of the Allocation.

 5 The City also expressed concern that Defendants were utilizing mediation privileged documents from

 6 the Allocation which were provided by Pharmacia LLC, a party to both the Allocation and this lawsuit.

 7 The City stated that such documents should not be used and asked Defendants to confirm whether they

 8 had been provided any such documents and whether they were being utilized.

 9         4.      On January 3, 2020, I sent an email to Defendants counsel summarizing the City’s

10 position regarding its refusal to produce mediation privileged documents pursuant to RFP 39, and its

11 objection to the use of any mediation privileged documents received from Pharmacia LLC in this

12 lawsuit. The email requested that Defendants confirm whether or not mediation privileged materials

13 had been provided and/or were being used by Defendants. A response was requested by the afternoon

14 of January 6, 2020. A true and correct copy of my January 3 email is attached hereto as Exhibit 1.

15         5.      On January 6, 2020, Defendants’ counsel emailed me to inform me that e response to

16 the January 3, 2020 email would be forthcoming by January 8, 2020. On January 7, 2020, I responded

17 by requesting that any such response be provided by noon that day. A true and correct copy of the

18 January 6 and 7 emails is attached hereto as Exhibit 2.

19         6.      As of the time of this filing the City has received no response to the inquiries made in

20 the January 3, 2020 email.

21          I declare under penalty of perjury of that the foregoing is true and accurate to the best of my

22 knowledge.

23         Executed this 9th day of January, 2020, at San Diego, California.

24

25                                                             _________________________

26                                                             Jason J. Julius

27

28
     DECLARATION OF JASON J. JULIUS                                              PETER S. HOLMES
     (2:16-cv-00107-RSL) - 2                                                     Seattle City Attorney
                                                                                 701 Fifth Avenue, Suite 2050
                                                                                 Seattle, WA 98104
                                                                                  (206) 684-8200
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               Exhibit
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             Exhibit
               2
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